     Case 1:08-cr-00012-MCR-AK          Document 75       Filed 10/22/08     Page 1 of 1


                                                                                       Page 1 of 1


                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                           CASE NO. 1:08-cr-00012-MP-AK

THOMAS ALAN SMART,

      Defendant.
___________________________/

                                         ORDER

       This matter is before the Court on Doc. 74, Motion to Continue Sentencing Hearing by

Thomas Alan Smart. The government agrees to the continuance. Accordingly, it is hereby

       ORDERED AND ADJUDGED:

       The sentencing of Mr. Smart, set for October 23, 2008, is hereby continued and will be
       reset by separate notice.

       DONE AND ORDERED this 22nd day of October, 2008


                                     s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
